Case 2:04-Cr-20464-BBD Document 93 Filed 08/01/05 Page 1 of 2 Page|D 99

FI\.ED"BY. ,.___... D.C.

UNITED sTATEs DISTRICT CoURT
WEsTERN DISTRICT oF TENNESSEE 05 AUG -\ PH 5= 014

 

WESTERN DIVISION
mgw£b$ MtL-MG.Q:H-»pni
titus Lr.>. ';:‘_~-\:€-=t..\ n 'HT
3 t 1-1.;1:-.-7-as

UNlTED STATES OF AMERICA,
Plaintiff,

Criminal No. 04-20471 D
v. Criminal No. 04-20464 D

CHARLOTTE SHANELL CRAWFORD,

Det`endant.

 

ORDER ALLOWING WITHDRAWAL OF COUNSEL

 

Before the court is the oral motion of Howard Manis, appointed counsel for the
defendant Charlotte Crawford, seeking an order from this court allowing him to withdraw
from the representation of defendant Charlotte Crawt`ord. Counsel states that he is
moving out of town and will no longer be available to represent Crawford.

For good cause shown, Howard Manis be and hereby is allowed to withdraw as
counsel for Crawford. The appointment of Howard Manis is therefore terminated, and

new counsel will be appointed for the defendant from the CJA list of attorneys

  

 

 

{l_‘."- W DOX"-B KClient`\30663\00 l`\pld\0000497`."'.DOC} Q

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

l\/lemphis7 TN 38105

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Howard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

l\/lemphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

